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6    TERESA LANDUCCI
7                                   UNITED STATES DISTRICT COURT
8                               NORTHERN DISTRICT OF CALIFORNIA
9
     TERESA LANDUCCI, on behalf of herself            Case No. 3:19−cv−07573−JCS
10   and others similarly situated,
                                                      CLASS AND COLLECTIVE ACTION
11                     Plaintiff,
            v.                                        [PROPOSED] ORDER GRANTING
12                                                    MOTION FOR FINAL APPROVAL OF
     FREEMAN EXPOSITIONS, LLC and DOES                CLASS SETTLEMENT AND
13   1 to 100, inclusive,                             AWARDING ATTORNEYS’ FEES,
                                                      COSTS, AND SERVICE AWARD
14                     Defendants.
                                                      Date:         August 26, 2022
15                                                    Time:         9:30 a.m. (via zoom)
                                                      Judge:        Chief Magistrate Judge
16                                                                  Joseph C. Spero
17

18                                       [PROPOSED] ORDER
19          Plaintiff’s Motion for Final Approval of Settlement Agreement came on for hearing on
20   August 26, 2022. The Court, having considered whether to order final approval of the class
21   action settlement in the above-captioned action pursuant to the “AMENDED JOINT
22   STIPULATION OF CLASS AND REPRESENTATIVE ACTION SETTLEMENT” ("Settlement"
23   or "Stipulation"), having read and considered all of the papers and argument of the parties
24   and their counsel, having granted preliminary approval on April 6, 2022, having directed that
25   notice be given to all Class Members of preliminary approval of the Settlement, the final
26   approval and fairness hearing, and the right to be excluded from the Settlement, and having
27   received no objections and good cause appearing,
28   [PROPOSED] ORDER GRANTING MOTIONS FOR FINAL APPROVAL OF CLASS SETTLEMENT,
     ATTORNEYS’ FEES, COSTS, AND SERVICE AWARD.                                                 1
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1           IT IS HEREBY ORDERED AS FOLLOWS:
2           1.     All defined terms contained herein shall have the same meaning as set forth in
3    the Stipulation executed by the Parties and filed with this Court.
4           2.     The Court finds that certification of the following Class is appropriate for
5    settlement purposes:
6           All persons who received a physical paycheck from Defendant in California and were
7           assessed a check cashing fee by BOFA when attempting to cash such a paycheck at
8           any time during the period from November 18, 2015 through April 6, 2022.
9           3.     The Court hereby finds that the Notice of Settlement, as mailed to all Class
10   Members on May 11, 2022, and the Corrected Notice of Settlement, as mailed to all Class
11   Members on May 27, 2022, fairly and adequately described the proposed Settlement, the
12   manner in which Class Members could object to or participate in the Settlement, and the
13   manner in which Class Members could opt out of the Settlement; was the best notice
14   practicable under the circumstances; was valid, due and sufficient notice to all Class
15   Members; and complied fully with the Federal Rules of Civil Procedure, due process, and all
16   other applicable laws.
17          4.     The Court further finds that a full and fair opportunity has been afforded to Class
18   Members to participate in the proceedings convened to determine whether the proposed
19   Settlement should be given final approval. Accordingly, the Court hereby determines that all
20   Class Members who did not file a timely and proper request to be excluded from the Settlement
21   are bound by this Order of Final Approval and the Judgment.
22          5.     The Court hereby finds that the Settlement, including the Gross Settlement
23   Amount, is fair, reasonable, and adequate as to the Class, Plaintiff and Defendant, and is the
24   product of good faith, arm's-length negotiations between the Parties, and further, that the
25   Settlement is consistent with public policy, and fully complies with all applicable provisions of
26   law. The Court makes this finding based on a weighing of the strength of Plaintiff’s claims
27   and Defendant’s defenses with the risk, expense, complexity, and duration of further litigation.
28   [PROPOSED] ORDER GRANTING MOTIONS FOR FINAL APPROVAL OF CLASS SETTLEMENT,
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1           6.     The Court also finds that the Settlement is the result of non-collusive arms-
2    length negotiations between experienced counsel representing the interests of the Class and
3    Defendant, after thorough factual and legal investigations. In granting final approval of the
4    Settlement, the Court considered the nature of the claims, the amounts paid in settlement,
5    the allocation of the Net Settlement Fund among the Class Members, and the fact that the
6    Settlement represents a compromise of the Parties' respective positions rather than the result
7    of a finding of liability after appeal. The Court also finds that the terms of the Settlement do
8    not improperly grant preferential treatment to any individual Class Member.
9           7.     The Court further finds that the response of the Class to the Settlement supports
10   final approval of the Settlement. Specifically, no Class Member has objected to the
11   Settlement, and none have opted out. Accordingly, pursuant to Rule 23(e), the Court finds
12   that the terms of the Settlement are fair, reasonable, and adequate to the Class and to each
13   Class Member. Staton v. Boeing, 327 F.3d 938, 960 (9th Cir. 2003).
14          8.     The Court also hereby finds that Plaintiff has satisfied the standards and
15   applicable requirements for final approval of this class action settlement under Fed. R. Civ.
16   P. 23, for the reasons stated in the Motion for Final Approval.
17          9.     The Court orders the Parties to implement, and comply with, the terms of the
18   Settlement.
19          10.    The Court approves the plan of allocation as set forth in the Stipulation.
20          11.    The Court approves the settlement of the Released Claims as defined in the
21   Settlement.
22          12.    As of the Effective Date of the Settlement, as defined in the Settlement, all of
23   the Released Claims of each Class Member who did not timely opt out, including Plaintiff, are
24   and shall be deemed to be conclusively released as against the Defendant and other
25   Released Parties. Except as to such rights or claims that may be created by the Settlement,
26   all Class Members as of the date of the Order of Final Approval and the Judgment who did
27   not timely opt out are hereby forever barred and enjoined from commencing or prosecuting
28   [PROPOSED] ORDER GRANTING MOTIONS FOR FINAL APPROVAL OF CLASS SETTLEMENT,
     ATTORNEYS’ FEES, COSTS, AND SERVICE AWARD.                                                    3
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1    any of the Released Claims, either directly, representatively or in any other capacity, against
2    Defendant and other Released Parties.
3           13.    As of the Effective Date of the Settlement, as defined in the Settlement, all of
4    the Released PAGA Claims, including Plaintiff’s, are and shall be deemed to be conclusively
5    released as against the Defendant and other Released Parties.
6           14.    As of the Effective Date of the Settlement, as defined in the Settlement, all of
7    the claims of the Named Plaintiff are and shall be deemed to be conclusively generally
8    released against the Defendant and other Released Parties. Except as to such rights or
9    claims that may be created by the Settlement, Plaintiff as of the date of the Order of Final
10   Approval and the Judgment is hereby forever barred and enjoined from commencing or
11   prosecuting any of the generally released claims, either directly, representatively or in any
12   other capacity, against Defendant and other Released Parties.
13          15.    Class Counsel, Hoyer & Hicks, are confirmed and shall continue to serve as
14   Class Counsel and shall oversee and perform the duties necessary to effectuate the
15   Settlement, including the submission to the Court of the Settlement Administrator's final
16   distribution report, as well as all papers necessary to allow this Court to evaluate the claims
17   process and distribution of the Settlement Fund to Class Members.
18          16.    Plaintiff’s Counsel is awarded attorney's fees in the amount of $166,666.67.
19   The foregoing award is 33.33% of the Settlement Fund of $500,000. Plaintiff's Counsel is
20   further awarded reimbursement of reasonable costs and expenses necessarily incurred in
21   order to advance the litigation for the benefit the class in this matter in the amount of
22   $10,376.12. These awards shall be paid from the Settlement Fund.
23          17.    In determining an award of attorney's fees where the class action settlement
24   establishes a common fund for the benefit of the class out of which the attorney's fee is
25   awarded, courts have adopted the percentage of fee calculation. Laffitte v. Robert Half
26   Internat., Inc., 1 Cal. 5th 480, 493-94 (2016). The Court finds that a fee award of one-third of
27   the Gross Settlement Amount, and upward adjustment to the Ninth Circuit 25% benchmark is
28   [PROPOSED] ORDER GRANTING MOTIONS FOR FINAL APPROVAL OF CLASS SETTLEMENT,
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1    appropriate in light of the factors to be considered, including: (1) the results achieved; (2) the
2    risk of litigation; (3) the skill required; (4) the quality of work performed; (5) the contingent
3    nature of the fee and the financial burden; and (6) the awards made in similar cases. See
4    Barbosa v. Cargill Meat Solutions Corp., 297 F.R.D. 431, 449 (E.D. Cal. 2013)(citing Vizcaino
5    v. Microsoft Corp., 290 F.3d 1043, 1047 (9th Cir. 2002).
6           18.    In addition, the Court finds the fee award reasonable under the lodestar cross-
7    check method, considering Class Counsel are seeking a negative multiplier to their lodestar
8    as of June 2022. Laffitte, 1 Cal.5th at 506; Vizcaino, 290 F.3d at 1043. In so finding, the
9    Court has considered a variety of factors, including "the quality of the representation, the
10   novelty and complexity of the issues, the results obtained, and the contingent risk presented."
11   Lealao v. Beneficial Cal., Inc., 82 Cal.App.4th 19, 26 (2000); see Hanlon v. Chrysler Corp.,
12   150 F.3d 1011, 1029 (9th Cir. 1998).
13          19.    Plaintiff Teresa Landucci is confirmed as Class Representative. The Class
14   Representative is awarded a service award in the amount of $10,000. This payment shall be
15   made from the Settlement Fund and is in addition to her share as a Class Member.
16          20.    Administrative Costs in the amount of $18,000 from the Settlement Fund to be
17   paid to the Settlement Administrator Simpluris, Inc., are approved. Class Counsel are directed
18   to pay the remaining $500 incurred by the Administrator in mailing the corrected notices.
19          21.    The Court allocates Seventy-Five Thousand dollars ($75,000) of the Settlement
20   Fund to penalties under the Private Attorneys General Act ("PAGA"), with seventy-five
21   percent (75%) of the PAGA penalties, Fifty-six Thousand Two Hundred Fifty dollars
22   ($56,250.00), to be paid to the California Labor and Workforce Development Agency
23   ("LWDA") and twenty-five percent (25%) of the PAGA penalties, Eighteen Thousand Seven
24   Hundred Fifty dollars ($18,750.00) to be paid to the PAGA Members.
25          22.    Defendant shall have no further liability for costs, expenses, interest, attorneys'
26   fees, or for any other charge, expense, or liability, in connection with the above-captioned
27   action except as provided in the Settlement.
28   [PROPOSED] ORDER GRANTING MOTIONS FOR FINAL APPROVAL OF CLASS SETTLEMENT,
     ATTORNEYS’ FEES, COSTS, AND SERVICE AWARD.                                                      5
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1           23.    The Settlement is not an admission by Defendant, nor is this Final Approval
2    Order and Judgment a finding of the validity of any claims in the Action or of any wrongdoing
3    by Defendant or that this Action is appropriate for class treatment (other than for settlement
4    purposes). Neither this Final Approval Order or the Judgment, the Settlement Agreement,
5    nor any document referred to herein, nor any action taken to carry out the Settlement
6    Agreement is, may be construed as, or may be used as an admission by or against Defendant
7    of any fault, wrongdoing or liability whatsoever. The entering into or carrying out of the
8    Settlement, and any negotiations or proceedings related thereto, shall not in any event be
9    construed as, or deemed to be evidence of, an admission or concession with regard to the
10   denials or defenses by Defendant. Notwithstanding these restrictions, Defendant and other
11   Released Parties may file in the Action or in any other proceeding this Final Approval Order
12   and Judgment, the Settlement Agreement, or any other papers and records on file in the
13   Action as evidence of the Settlement to support a defense of res judicata, collateral estoppel,
14   release, or other theory of claim or issue preclusion or similar defense as to the Released
15   Claims.
16          24.    Notice of entry of this Final Approval Order and the Judgment shall be given to
17   all Parties by Class Counsel on behalf of Plaintiff and all Class Members. The Final Approval
18   Order and Judgment shall be posted on the Settlement Administrator's website. It shall not
19   be necessary to send notice of this Final Approval Order and entry of Judgment to individual
20   Class Members.
21          25.    Within 21 days after the settlement checks become stale, Plaintiff shall file a
22   Post-Distribution Accounting, which provides the following information:
23          26.    The total settlement fund, the total number of class members, the total number
24   of class members to whom notice was sent and not returned as undeliverable, the number
25   and percentage of claim forms submitted, the number and percentage of opt-outs, the number
26   and percentage of objections, the average and median recovery per claimant, the largest and
27   smallest amounts paid to class members, the method(s) of notice and the method(s) of
28   [PROPOSED] ORDER GRANTING MOTIONS FOR FINAL APPROVAL OF CLASS SETTLEMENT,
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1    payment to class members, the number and value of checks not cashed, the amounts
2    distributed to each cy pres recipient,1 the administrative costs, the attorneys' fees and costs,
3    the attorneys' fees in terms of percentage of the settlement fund, and the multiplier, if any.
4    Counsel will summarize this information in an easy-to-read chart that allows for quick
5    comparisons with other cases.
6           27.     Within 21 days after the settlement checks become stale, the Administrator
7    shall post the Post-Distribution Accounting, including the easy-to-read chart, on the settlement
8    website.
9           28.     If the Settlement does not become final and effective in accordance with the
10   terms of the Stipulation, then this Final Approval Order and the Judgment, and all orders
11   entered in connection herewith, shall be rendered null and void and shall be vacated, and the
12   Parties shall revert to their respective positions as of before entering into the Settlement, and
13   expressly reserve their respective rights regarding the prosecution and defense of this Action,
14   including all available defenses and affirmative defenses, and arguments that any claim in
15   the Action could not be certified as a class action and/or managed as a representative action.
16          29.     Without affecting the finality of the Order of Final Approval or the Judgment, the
17   Court retains exclusive and continuing jurisdiction over the case, Plaintiff, all Class Members
18   and Defendant for purposes of supervising, implementing, interpreting and enforcing the
19   Order of Final Approval and the Judgment and the Settlement. Nothing in the Order of Final
20   Approval precludes any action to enforce the Parties' obligations under the Settlement or
21   under this Order of Final Approval.
22

23          IT IS SO ORDERED.
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27   1
       The Court hereby approves the Parties request to designate The Impact Fund as the cy pres beneficiary to
     any residue from this Settlement.
28   [PROPOSED] ORDER GRANTING MOTIONS FOR FINAL APPROVAL OF CLASS SETTLEMENT,
     ATTORNEYS’ FEES, COSTS, AND SERVICE AWARD.                                                               7
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 1
     Date: August 26, 2022
 2
                                                Hon. Joseph C. Spero
 3                                              U.S. Chief Magistrate Judge
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28   [PROPOSED] ORDER GRANTING MOTIONS FOR FINAL APPROVAL OF CLASS SETTLEMENT,
     ATTORNEYS’ FEES, COSTS, AND SERVICE AWARD.                                  8
